                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

 In re:                                                        Chapter 11

 REMINGTON OUTDOOR COMPANY,                                    Case No. 20-81688-11
 INC., et al.,1
                                                               (Joint Administration Requested)
                       Debtors.


                              DECLARATION OF KEN D’ARCY
                  IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY
                  PLEADINGS OF REMINGTON OUTDOOR COMPANY, INC.
                AND ITS AFFILIATED DEBTORS AND DEBTORS-IN-POSSESSION

           I, Ken D’Arcy, hereby declare under penalty of perjury:

           1.      I have served as the Chief Executive Officer of each of the above-captioned debtors

 and debtors in possession (each, a “Debtor” and, collectively, the “Debtors”) since June 17, 2019.

 I have also served as a member of board of directors of Remington Outdoor Company, Inc. since

 May 2018.

           2.      From October 2018 to May 2019, I served as Chief Executive Officer of G. I. Sportz

 Inc., a Canada-based producer of innovative products designed for paintball enthusiasts. From

 March 2017 to July 2018, I served as Chairman and Chief Executive Officer of TrackingPoint,

 Inc., a Texas-based applied technology company. Prior to joining TrackingPoint, Inc. in March

 2017, I worked for more than twenty-five years in the outdoor sports industry, including serving

 as Chief Executive Officer, President, and board member of Crosman Corporation, a shooting


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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.



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 sports industry company. I have also led multiple other outdoor consumer products companies

 throughout North America and Europe. In these roles, I have been heavily involved in developing

 operational and financing strategies and execution, mergers and acquisitions and cost strategy

 initiatives.

           3.   Except as otherwise indicated herein, all facts set forth in this Declaration are based

 on my personal knowledge, my discussions with other members of the Debtors’ senior

 management and other personnel, my review of relevant documents, or my opinion based on my

 experience, knowledge, and information concerning the Debtors’ operations and financial

 condition. If called upon to testify, I would testify competently to the facts set forth in this

 Declaration. I am authorized to submit this Declaration on behalf of the Debtors.

           4.   Since early 2019, the Debtors and their advisors have engaged in an extensive

 review of the Debtors’ operations and strategic alternatives in order to maximize the value of their

 businesses, and best protect the interests of their employees, secured and unsecured creditors, and

 other stakeholders. After engaging in that review, the Debtors have determined that the best

 available alternative is to sell substantially all of their business as a going concern pursuant to a

 sale process under Section 363 of the Bankruptcy Code. The Debtors also intend to seek

 confirmation of a joint plan (the “Plan”) following the sale process in order to expeditiously

 complete the distribution of proceeds from the sale and conclude these bankruptcy cases (the

 “Chapter 11 Cases”). Given the Debtors’ operational needs, the concessions made by certain of

 their creditors to effectuate this process and the desire to maximize value and reduce administrative

 expenses, the Debtors seek to promptly complete the sale.

           5.   Consequently, on July 27, 2020 (the “Petition Date”), each of the Debtors filed in

 this Court a voluntary petition for relief under chapter 11 of title 11 of the United States Code, 11




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 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”).

           6.      The Debtors continue to operate their businesses as debtors in possession pursuant

 to Sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed

 in the Chapter 11 Cases. No creditors’ or other official committee has yet been appointed pursuant

 to section 1102 of the Bankruptcy Code.

           7.      The Debtors have filed a motion seeking joint administration of the Chapter 11

 Cases pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

           8.      The Debtors also filed other “first day” applications and motions with the Court

 (collectively, the “First Day Pleadings”)2 in order to minimize certain of the potential adverse

 effects of the commencement of the Chapter 11 Cases and to maximize the value of their estates

 while they undertake the sale process and seek confirmation of the Plan. I submit this declaration

 (the “Declaration”) to assist the Court and other parties in interest in understanding the

 circumstances that led to the commencement of the Chapter 11 Cases and in support of the

 Debtors’ chapter 11 petitions for relief and the First Day Pleadings.

           9.      Parts I and II of this Declaration provide an overview of the Debtors’ businesses,

 organizational structure, and capital structure. Part III provides an overview of the circumstances

 leading to the commencement of the Chapter 11 Cases. Part IV discusses the bases for relief

 sought in the First Day Pleadings.

           10.     As described in detail below, the Debtors commenced the Chapter 11 Cases to

 effectuate a prompt sale of substantially all of their assets and to confirm a Chapter 11 plan to

 address their existing obligations that are not otherwise assumed through the sale. The Debtors

 are requesting an expeditious timeline from the Court to complete the sale. The Debtors believe


 2
      Capitalized terms used but not defined herein have the meanings ascribed to them in the First Day Pleadings.



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 this timeline is appropriate in the Chapter 11 Cases for many reasons including:

                    The Debtors ran an extensive pre-petition marketing process designed to maximize
                     the value received by stakeholders.

                    The sale process was overseen by a separate Restructuring Committee made up of
                     independent non-management board members with independent counsel.

                    The liens supporting the Debtors’ prepetition secured debt were validated as part of
                     the Debtors’ prior bankruptcy cases in 2018. As a result, any lien investigation or
                     challenge period should be limited.

                    Certain of the Debtors’ prepetition secured creditors have been made aware of the
                     Debtors’ process and evaluation to date, and have already made significant
                     concessions to allow this transaction to move forward.

                    The access to cash collateral secured by the estates is designed to fund the proposed
                     process and support current operations; it is not designed to address longer term
                     structural needs.

                    Delay would result in increased administrative expenses that may degrade creditor
                     recoveries and potentially jeopardize operations.

 I.        Description of the Debtors

           A.        The Debtors’ Businesses

           11.       The Debtors are among America’s oldest and largest manufacturers of firearms,

 ammunition, and related products for commercial, military, and law enforcement customers

 throughout the world. The Debtors hold a diverse portfolio of category-defining brands, including

 Remington, Marlin, Bushmaster, Barnes Bullets, Advanced Armament Corp., and DPMS.

           12.       The Debtors have held leading market positions in the United States in a variety of

 firearms and ammunition categories. The Debtors have several key strengths that provide them

 with a significant competitive advantage in the firearm and ammunition markets, including, among

 other things, (i) category defining brands, (ii) a broad product portfolio, (iii) multiple distribution

 channels designed to reach diverse end markets, and (iv) a differentiated, customer-focused

 management, sales, and marketing approach. In addition, the Debtors are the only U.S. company


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 that manufactures both firearms and ammunition, which provides them with a unique servicing

 edge, supports their market leading positions, and adds a recurring revenue component to sales.

           13.     The Debtors currently manufacture their products in seven different facilities

 located across the United States with an aggregate 2.5 million square feet of manufacturing space,

 enabling them to deliver products throughout the United States and globally to approximately

 52 countries. The majority of the Debtors’ revenue is derived from two key firearms facilities in

 Huntsville, Alabama and Ilion, New York, and two primary ammunition plants in Lonoke,

 Arkansas and Mona, Utah. The Debtors’ principal customers are various mass market retail chains

 (e.g., Wal-Mart), specialty retail stores (e.g., Bass Pro Shops and Cabela’s) and wholesale

 distributors (e.g., Sports South). As of the Petition Date, the Debtors employed approximately

 2,100 full-time employees, with an additional work force of temporary employees engaged during

 peak production schedules at certain of their manufacturing facilities.3

           B.      Organizational Structure

           14.     Formed in 2007, Debtor Remington Outdoor Company, Inc. (“ROC”) is a holding

 company that is currently majority owned by a disparate group of shareholders.4 The Debtors

 believe that a majority of these shareholders acquired their equity positions as distributions made

 to them during the Debtors’ prior chapter 11 cases, which are discussed in greater detail below.

           15.     ROC was previously known as Freedom Group, Inc. (“FGI”), which was formed

 principally for the purpose of acquiring Remington Arms Company, LLC5 (“RAC”) in 2007. On



 3
  Approximately 30% of the Debtors’ employees are full-time union employees. Additional details regarding the
 Debtors’ employees in the “Employee Wages Motion” section below.
 4
   The substantially majority of the common stock of ROC is held through the Depository Trust Company, making the
 identity of every ROC shareholder at any given time not subject to perfect access by the Debtors.

 5
     Formerly known as Remington Arms Company, Inc., which was formerly known as RACI Acquisition Corporation.



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 December 12, 2007, through a series of transactions, Bushmaster Firearms International, LLC and

 RAC became wholly owned subsidiaries of FGI.

           16.       Debtors ROC, FGI Holding Company, LLC (“FGI Holding”), and FGI Operating

 Company, LLC (“FGI Opco”) principally serve as holding companies. ROC owns 100% of the

 equity interests in FGI Holding, which in turn owns 100% of the equity interests in FGI Opco.

           17.       FGI Opco owns 100% of the equity interests in Debtors RAC, Barnes Bullets, LLC

 (“Barnes”), RA Brands, L.L.C. (“RA Brands”), FGI Finance, Inc. (“FGI Finance”), and Outdoor

 Services, LLC. RAC, in turn, owns 100% of the equity interests in Debtors Remington Arms

 Distribution Company, LLC (“RAD”), TMRI, Inc. (“TMRI”), Huntsville Holdings LLC, 32E

 Productions, LLC and Great Outdoors Holdco, LLC. A chart showing the Debtors’ organizational

 structure as of the Petition Date is attached hereto as Exhibit A.

           18.       Debtors RAC, Barnes, TMRI, and RAD are the principal operating companies

 within the Debtors’ corporate enterprise and the owner of the Debtors’ principal manufacturing

 plants. Brief descriptions of certain of the operating entities’ functions are outlined below:

                    Remington Arms Company, LLC – manufacturer of firearms, ammunition, and
                     related products.

                    Barnes Bullets, LLC – manufacturer of ammunition and ammunition components
                     for the Barnes Bullets brand.

                    RA Brands, L.L.C. – owns the Debtors’ core brand trademarks and charges a
                     royalty to other Debtors for use of those brands.

                    TMRI, Inc. – manufacturer of barrel components with certain Debtors as primary
                     customers.

                    Remington Arms Distribution Company, LLC – distributes Remington products to
                     retail chains/dealers.

           19.       Debtors FGI Finance, Inc., Huntsville Holdings LLC, 32E Productions, LLC, Great

 Outdoors Holdco, LLC and Outdoor Services, LLC are inactive shell entities that do not have any



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 material assets but are obligors in connection with the Prepetition Facilities (as defined and more

 fully described below).

           20.      The Debtors’ corporate headquarters are located at 100 Electronics Blvd SW,

 Huntsville, Alabama 35824. In addition, the Debtors’ plant in Huntsville, Alabama constitutes a

 plurality of the Debtors’ tangible assets based upon the Debtors’ internal corporate records.

 II.       Prepetition Capital Structure6

           21.      The Debtors commenced previous chapter 11 cases on March 25, 2018 in the

 United States Bankruptcy Court for the District of Delaware in cases jointly administered as case

 number 18-10684 (the “Prior Cases”) in order to implement a comprehensive balance sheet

 restructuring, pursuant to a prepackaged plan of reorganization. The Debtors confirmed their Joint

 Prepackaged Chapter 11 Plan of Remington Outdoor Company, Inc. and its Affiliated Debtors

 and Debtors in Possession on May 4, 2018 (the “Prior Plan”). A true and correct copy of the

 Order (A) Approving Solicitation Procedures, (B) Approving Adequacy of Disclosure Statement,

 and (C) Confirming Plan (the “Prior Confirmation Order”) entered by the United States

 Bankruptcy Court for the District of Delaware in the Prior Cases on May 4, 2018, is attached

 hereto as Exhibit C.

           22.      The Debtors emerged from the Prior Cases on May 15, 2018 with a more

 streamlined capital structure consisting of: (i) an asset-based loan facility (the “Exit ABL

 Facility”) that was subsequently refinanced with the proceeds of a priority term loan facility (the

 “Priority Term Loan Facility”), (ii) a first-lien-last-out term loan facility (the “FILO Term

 Loan Facility”), (iii) an exit term loan facility (the “Exit Term Loan Facility” and together with



 6
       The following summary is qualified in its entirety by reference to the operative documents, agreements, schedules,
       and exhibits.



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 the Priority Term Loan Facility and the FILO Term Loan Facility, collectively, the “Prepetition

 Facilities”), (iv) a real property-secured promissory note owed to the City of Huntsville, Alabama,

 and (v) an unsecured intercompany note. A summary of these debt facilities is provided below.7

           23.     The Prior Confirmation Order included findings and conclusions concerning the

 Exit ABL Facility, the FILO Term Loan Facility, and the Exit Term Loan Facility (collectively

 with the Exit ABL Facility and the FILO Term Loan Facility, the “Exit Facilities”). Specifically,

 the Prior Confirmation Order found that (A) the Exit Facilities were “effective, valid, binding, and

 enforceable in accordance with their terms, and each party thereto shall be bound thereby” (Prior

 Confirmation Order, ¶ 19); (B) the liens granted by the Debtors to secure the obligations under the

 Exit Facilities were “valid, binding, and enforceable liens on the collateral specified in the relevant

 documents executed by the . . . Debtors” (id., ¶ 20) ; (C) the guarantees, mortgages, pledges, liens,

 and other security interests granted pursuant to or in connection with the Exit Facilities were

 “granted in good faith” and “deemed not to constitute a fraudulent conveyance or fraudulent

 transfer, shall not otherwise be subject to avoidance, recharacterization, or subordination” (id.);

 and (D) the liens and security interests granted in connection with the Exit Facilities were

 automatically perfected upon entry of the Prior Confirmation Order, without the need for any

 filings, recordings, approvals, and consents to perfect such liens and security interests (id., ¶ 21).

           A.      Priority Term Loan Facility

           24.     Debtor FGI Opco is the borrower under the Priority Term Loan Facility, in an

 original principal amount of up to $85.5 million, which is memorialized pursuant to that certain

 Loan and Security Agreement, dated as of April 18, 2019 (as amended (i) by that certain (a)



 7
      A chart that further illustrates the outstanding amounts under the debt facilities and the applicable guarantors,
      borrowers, and issuers under the debt facilities is attached as Exhibit B thereto.



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 Amendment No. 1 dated May 1, 2019, (b) Amendment No. 2 dated June 24, 2019, (c) Amendment

 No. 3 dated August 15, 2019, (d) Amendment No. 4 dated October 11, 2019, (e) Amendment No.

 5 dated February 21, 2020, (f) Amendment No. 6 dated March 27, 2020, (g) Amendment No. 7

 dated June 18, 2020, (h) Amendment No. 8 dated June 26, 2020, and (i) Amendment No. 9 dated

 July 7, 2020 and (ii) as further amended, restated, modified, or supplemented from time to time,

 the “Priority Term Loan Credit Agreement”), by and among FGI Opco, as borrower, the other

 Debtors, as guarantors, Cantor Fitzgerald Securities, as administrative agent (the “Priority Term

 Loan Agent”), and the lenders from time to time party thereto (the “Priority Term Loan

 Lenders”). The Debtors other than FGI Opco are guarantors of the Priority Term Loan Facility

 (together with FGI Opco, the “Priority Term Loan Parties”). The proceeds of the Priority Term

 Loan Facility were used, in part, to refinance the Exit ABL Facility. The maturity date for the

 Priority Term Loan Facility is April 18, 2022.

           25.   The Priority Term Loan Parties’ obligations under the Priority Term Loan Facility

 are secured by first priority liens on (a) certain of the Priority Term Loan Parties’ collateral,

 including but not limited to accounts receivable, intellectual property, inventory, and proceeds

 thereof and (b) liens on substantially all other assets of the Priority Term Loan Parties (the “PPE

 Collateral”); provided, however, that the liens securing the Priority Term Loan Obligations are

 perfected first priority liens on the PPE Collateral only up to the first $7.5 million of the value

 and/or proceeds thereof and, upon recovery of such amount from the PPE Collateral, the liens of

 the Priority Term Loan Lenders on the PPE Collateral will have third priority (the collateral subject

 to a first priority lien of the Priority Term Loan Agent, the “ABL Priority Collateral”, and the

 collateral subject to a third priority lien of the Priority Term Loan Agent, the “TL Priority

 Collateral” and together with the ABL Priority Collateral, the “Prepetition Collateral” and liens




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 granted to the Priority Term Loan Agent thereon, the “Priority Term Loan Liens”).

           26.   The Priority Term Loan Facility includes a collateral base floor requirement. Under

 the Priority Term Loan Credit Agreement, a collateral base floor of $105 million was initially

 established and was subsequently reduced to $87.5 million. To the extent that the Debtors’

 borrowing base (comprised of certain eligible accounts receivable and eligible inventory) is less

 than the collateral base floor, the Debtors are required to either prepay the Priority Term Loan

 Facility or cash collateralize the Priority Term Loan Facility in the amount of the difference.

 Because prepayments under the Priority Term Loan Facility must be accompanied by a

 prepayment fee of 1.5% and an exit fee of 2.0%, the Debtors have historically elected to cash

 collateralize any deficiency. This approach also conserved cash for later use if the borrowing base

 restrictions were relaxed, including as an alternative for debtor in possession financing. That cash

 collateral is held in a blocked deposit account that the Debtors are not permitted to access (the

 “Dominion Account”).         As of the Petition Date, the amount of such cash collateral was

 approximately $38.7 million. In addition, the Debtors are required to maintain an additional

 minimum cash balance of $3.5 million in the Dominion Account, tying up additional working

 capital.8

           27.   As of the Petition Date, the aggregate outstanding principal balance under the

 Priority Term Loan Facility was approximately $75.5 million, plus any accrued and unpaid

 interest, fees, expenses, and other amounts due and owing pursuant to the terms of the Priority

 Term Loan Credit Agreement and related loan documents. As of the Petition Date, the amount of

 the pre-payment penalty payable on the outstanding principal balance of the Priority Term Loan



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   The cash collateral, including the minimum cash balance, that are maintained in the Dominion Account are
 collectively referred to the “Dominion Cash”.



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 Credit Agreement was approximately $1.1 million and the amount of the exit fee was

 approximately $1.5 million.

           B.    FILO Term Loan Facility

           28.   Debtor FGI Opco is the borrower under the FILO Term Loan Facility, which is

 memorialized pursuant to that certain First Lien Last-Out Term Loan Agreement, dated as of May

 15, 2018 (as amended by that certain (a) Amendment No. 1, dated as of April 18, 2019, (b)

 Amendment No. 2, dated as of May 1, 2019, (c) Amendment No. 3, dated as of August 15, 2019,

 (d) Amendment No. 4, dated as of October 11, 2019, (e) Amendment No. 5, dated as of February

 21, 2020, and (f) Amendment No. 6, dated as of March 27, 2020, and (ii) as further amended,

 restated, supplemented and/or otherwise modified from time to time, including any replacements

 or refinancings thereof, the “FILO Term Loan Agreement” and together with all other related

 documents, guarantees and agreements, including, without limitation, security agreements,

 mortgages, pledge agreements, assignments, financing statements and other agreements,

 documents, instruments or certificates executed in connection with the FILO Term Loan

 Agreement, the “FILO Term Loan Documents”), by and between FGI Opco, as borrower, the

 other Debtors, as guarantors, Ankura Trust Company, LLC, as administrative agent (in such

 capacities, the “FILO Agent”), and the lenders from time to time party thereto (the “FILO

 Lenders”). The Debtors other than FGI Opco are guarantors under the FILO Term Loan Facility

 (together with Debtor FGI Opco, the “FILO Loan Parties”). The maturity date for the FILO

 Term Loan Facility is May 15, 2021.

           29.   The FILO Loan Parties’ obligations under the FILO Term Loan Facility are secured

 by (a) first priority security interests in and liens on the TL Priority Collateral and (b) second

 priority security interests in and liens on the ABL Priority Collateral (the “FILO Term Loan

 Liens”).


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           30.   As of the Petition Date, the aggregate outstanding principal balance under the FILO

 Term Loan Facility was approximately $55 million, plus any accrued and unpaid interest, fees,

 expenses, and other amounts due and owing pursuant to the terms of the FILO Term Loan

 Agreement and related loan documents.

           C.    Exit Term Loan Facility

           31.   Debtor FGI Opco is the borrower under the Exit Term Loan Facility, in an original

 principal amount of $100 million, which increased due to PIK elections to a principal amount of

 $110.7 million, which is memorialized pursuant to that certain Term Loan Agreement, dated as of

 May 15, 2018 (as amended (i) by that certain (a) Amendment No. 1, dated as of April 18, 2019,

 (b) Amendment No. 2, dated as of May 1, 2019, (c) Amendment No. 3, dated as of August 15,

 2019, (d) Amendment No. 4, dated as of February 21, 2020, and (f) Amendment No. 5, dated as

 of March 27, 2020, and (ii) as further amended, restated, supplemented and/or otherwise modified

 from time to time, including any replacements or refinancings thereof, the “Exit Term Loan

 Agreement” and together with all other related documents, guarantees and agreements, including

 without limitation, security agreements, mortgages, pledge agreements, assignments, financing

 statements and other agreements, documents, instruments or certificates executed in connection

 with the Exit Term Loan Agreement, the “Exit Term Loan Documents”), by and between FGI

 Opco, as borrower, the other Debtors, as guarantors, Ankura Trust Company, LLC, as

 administrative agent (in such capacities, the “Exit Term Loan Agent” and collectively with the

 Priority Term Loan Agent and the FILO Agent, the “Prepetition Agents”), and the lenders from

 time to time party thereto (the “Exit Term Loan Lenders” and together with the Priority Term

 Loan Lenders and the FILO Lenders, collectively, the “Prepetition Lenders”, and the Prepetition

 Lenders with the Prepetition Agents, collectively, the “Prepetition Secured Creditors”). The

 Debtors other than FGI Opco are guarantors under the Exit Term Loan Facility (together with


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 Debtor FGI Opco, the “Exit Term Loan Parties”). The maturity date for the Exit Term Loan

 Facility is May 15, 2022.

           32.    The Exit Term Loan Parties’ obligations under the Exit Term Loan Facility are

 secured by (a) second priority security interests in and liens on the TL Priority Collateral and (b)

 third priority security interests in and liens on the ABL Priority Collateral (collectively, the “Exit

 Term Loan Liens”).

           33.    As of the Petition Date, the aggregate outstanding principal balance under the Exit

 Term Loan Facility was approximately $110.7 million, plus any accrued and unpaid interest, fees,

 expenses, and other amounts due and owing pursuant to the terms of the Exit Term Loan

 Agreement and related loan documents.

           34.    The Debtors, the Priority Term Loan Agent, the FILO Agent, and the Exit Term

 Loan Agent are party to that certain Intercreditor Agreement dated as of April 18, 2019 (as

 subsequently amended) that, among other things, sets forth the relationship in terms of claims,

 priority, rights and remedies between and among the parties.9

           D.     Huntsville Secured Note

           35.    In February 2014, Debtor ROC obtained a $12.5 million loan from the City of

 Huntsville, Alabama (the “City of Huntsville”) in order to improve its manufacturing facility

 there. The loan is evidenced by a promissory note executed by Debtor ROC in favor of the City



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   The Priority Term Loan Agent, the FILO Agent, and the Exit Term Loan Agent are collectively referred to herein as
 the “Prepetition Agents.” The Priority Term Loan Secured Creditors, FILO Term Loan Secured Creditors, and Exit
 Term Loan Secured Creditors are collectively referred to herein as the “Prepetition Secured Creditors.” The Priority
 Term Loan Documents, FILO Term Loan Documents, and Exit Term Loan Documents are collectively referred to
 herein as the “Prepetition Credit Documents.” The Priority Term Loan Facility, FILO Term Loan Facility, and Exit
 Term Loan Facility are collectively referred to herein as the “Prepetition Secured Credit Facilities.” The Priority
 Term Loan Liens, FILO Term Loan Liens, and Exit Term Loan Liens are collectively referred to herein as the
 “Prepetition Liens.” The Priority Term Loan Obligations, FILO Term Loan Obligations, and Exit Term Loan
 Obligations are collectively referred to herein as the “Prepetition Secured Obligations.”



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 of Huntsville (the “Huntsville Note”) and secured by a first priority mortgage on the Debtors’

 firearm facilities in Huntsville. The Huntsville Note has an eleven-year term with annual

 amortization payments due each year beginning on the second anniversary of the issuance equal

 to 10% of the original principal balance, provided that if ROC meets certain employment goals for

 the year preceding the principal and interest payment dates, the annual principal and related interest

 for that payment period will be forgiven, subject to reinstatement in certain circumstances. The

 Debtors were not in compliance with the employment goal for the annual test period most recently

 ended. As of the Petition Date, the aggregate outstanding principal balance under the Huntsville

 Note was $12.5 million.

           E.    Intercompany Note

           36.   On April 18, 2019, Debtor RAC issued Debtor FGI Holding an Amended and

 Restated Promissory Note (“Intercompany Note”) in the original principal amount of

 $100,000,000. The Intercompany Note restated a promissory note originally issued by RAC to

 FGI Holding on December 30, 2018. The Intercompany Note evidences loans made by FGI Opco,

 which FGI Opco subsequently transferred and assigned to FGI Holding, to RAC for the purposes

 of funding RAC’s and its various subsidiaries’ working capital needs.

           F.    Other Liabilities

           37.   As of the Petition Date, the Debtors have approximately $30 million in outstanding

 claims owed to its various vendors, suppliers, and service providers, including claims reflected in

 the Debtors’ current accounts payable or otherwise accrued and/or attributable to the period prior

 to the Petition Date. Additionally, the Debtors are party to various litigation matters, including

 products liability actions.    The claims associated with such litigation matters are disputed,

 contingent, and/or unliquidated as of the Petition Date.




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           F.      ROC Common Stock

           38.     Debtor ROC has 13,272,325 shares of common stock (including restricted stock

 units) issued and outstanding.

           39.     Debtor ROC also has 2,342,175 warrants outstanding (each, a “Warrant” and,

 collectively, the “Warrants”).10 Each Warrant gives the holder thereof the right to purchase one

 share of common stock, par value $0.01 per share, of Debtor ROC at an exercise price, subject to

 adjustment, of $35.05 per share. The Warrants expire at 5:00 p.m. EDT, on May 15, 2022.

           III.    Commencement of the Chapter 11 Cases

           A.      Key Events Leading to Chapter 11

           40.     Although the Prior Cases restructured the balance sheet, the Debtors emerged from

 the Prior Cases with an elevated level of inventory and a wide range of brands that extended the

 Debtors beyond their core focus. Most importantly, the unfavorable business trends continued

 after exit from the Prior Cases.

           41.     In order to provide the Debtors more runway, in late 2018 and early 2019, the

 Debtors commenced a robust process to refinance the Exit ABL Facility as a means to alleviate

 covenant concerns and provide new capital. The Debtors engaged Ducera Partners LLC and,

 where appropriate, Ducera Securities LLC (collectively, “Ducera”), in March 2019 to advise the

 Debtors and market the investment. As part of the refinancing process, Ducera contacted over 60

 potential lenders to solicit financing interest. Over a period of three weeks, the Debtors received

 three non-binding indications of interest. Ultimately, the Debtors moved forward with Whitebox

 Advisors, and the Priority Term Loan Facility was entered into in April, 2019, refinancing the Exit




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      The Warrants are held through the Depository Trust Company, making the precise identity of warrant holders at
      any given time not subject to ready access by the Debtors.



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 ABL Facility, resolving covenant concerns that existed at the time, and providing incremental

 liquidity to the Debtors.

           42.   The Debtors appointed a new chief executive officer, chief financial officer, and

 chief operating officer in 2019. After these appointments, the Debtors undertook an analysis of

 their strategic priorities, various cost-cutting measures, and financing alternatives. The Debtors

 initiated reductions of excess inventory and sought increased profitability via continued

 improvements in operational efficiencies, growth in international and dealer sales channels, and

 growth in defense and law enforcement channels.

           43.   Despite the Debtors’ efforts, which resulted in significantly improved efficiencies

 and savings, their financial performance continued to deteriorate, owing in large part to the

 inability to purchase raw materials at the required level to grow revenues. At the conclusion of

 2019, the Debtors had realized approximately $437.5 million in total net sales and an adjusted

 EBITDA of $(74.7) million. In comparison, in 2015 and 2016, the Debtors had achieved

 approximately $808.9 million and $865.1 million in sales and $64 million and $119.8 million in

 adjusted EBITDA, respectively.

           44.   The Debtors also continued to face liquidity pressure and were increasingly

 challenged to meet the collateral base floor requirements imposed under the Priority Term Loan

 Facility. That limited the availability of the credit line under the Priority Term Loan Facility and

 triggered an obligation to post cash collateral in the amount of any difference between the Debtors’

 borrowing base and the collateral base floor. In February 2020, the Debtors negotiated an

 amendment to the Priority Term Loan Credit Agreement that reduced the collateral base floor by

 $7.5 million and deferred a $5.0 million amortization payment for a month and a half, but the

 amendment did not provide a permanent liquidity solution.




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           45.   To preserve liquidity, the Debtors deferred payment of the firearms and

 ammunition excise tax under 26 U.S.C. Section 4181 (the “Excise Tax”) in compliance with the

 CARES Act.

           46.   The COVID-19 pandemic has recently sparked increased demand for the Debtors’

 core products. The Debtors, however, have been unable to meet such demand because of (i) the

 need to suspend operations temporarily to respond to the pandemic, and (ii) insufficient liquidity

 to fund raw material purchases needed to scale up production. As a result, the Debtors’ liquidity

 remains challenged.

           B.    Pre-Petition Marketing Process

           47.   In late 2019, the Debtors embarked on a process to explore strategic alternatives.

 Among the options considered were a potential recapitalization of the Prepetition Facilities,

 refinancing of the Priority Term Loan Facility, a potential equity raise, and a potential sale of the

 Debtors’ assets or merger. The Debtors were willing to entertain both in-court and out-of-court

 options during this process.

           48.   On December 2, 2019, the Debtors again engaged Ducera to advise them in

 connection with exploring strategic alternatives.      Ducera contacted over 200 potential new

 investors regarding engaging in a potential transaction with the Debtors, including over 20

 potential lenders regarding a possible refinancing of the Priority Term Loan Facility. Of these,

 approximately 40 entered into confidentiality agreements and engaged in further dialogue and

 diligence with Ducera and the Debtors. Ultimately, approximately 5 potential investors submitted

 non-binding indications of intents with proposed investment terms. One of those proposals was a

 proposal by an entity (the “Potential Bidder”) purchase the Debtors’ businesses as a going

 concern.

           49.   For most of February 2020 and into March 2020, the Debtors with the assistance of


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 Ducera and their other advisors negotiated over terms of potential transactions with these parties.

 While some parties were forced to halt their participation in the process due to the impacts on their

 businesses from the COVID-19 pandemic, among other reasons, the bid to acquire the businesses

 by the Potential Bidder, emerged as the lead bid.

           50.   Ducera also concurrently engaged in in-depth discussions with all of the Debtors’

 major stakeholders, including the Priority Term Loan Lenders, FILO Lenders, Exit Term Loan

 Lenders, and the Debtors’ major shareholders, to investigate the viability of a consensual out-of-

 court restructuring. None of these stakeholders, however, offered a proposal that was feasible.

           51.   In April 2020, the board of directors of ROC also formed a special restructuring

 committee comprised of solely independent and disinterested directors (the “Restructuring

 Committee”) to, among other things, review and evaluate, with the assistance of financial and

 other advisors and separate legal counsel, any and all possible transactions available to the Debtors.

           52.   Although a deal in principle had been reached with the Potential Bidder, in May

 and June 2020, the Debtors, with the assistance of Ducera and their other advisors and under the

 supervision of the Restructuring Committee, made another solicitation for additional bids for the

 Company in order to both further market test the Potential Bidder bid and to serve as back-ups in

 the event that the offer fell through. The Debtors and their advisors engaged a number of parties,

 including private equity firms and strategics, to evaluate interest in asset sale transactions. The

 Debtors set a response deadline of June 8, 2020 and received bids through June 15, 2020. During

 the solicitation period, parties were requested to provide indications of interest on any potential

 asset sale transactions including both segment and enterprise level transactions.

           53.   The Debtors and the Potential Bidder’s representatives negotiated a final purchase

 agreement and debtor in possession financing agreement on or about June 18, 2020, which




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 remained subject to final internal approval by the Potential Bidder’s regulatory and legal oversight.

 Among other things, the negotiated transaction provided for the assumption by the buyer of many

 ordinary course pre-petition liabilities including taxes (including excise and employment taxes)

 and trade accounts payable. While the negotiated transaction received certain of the required

 regulatory approvals, the transaction with the Potential Bidder became the subject of public reports

 and the final approval by the Potential Bidder’s governing bodies expected in mid-July 2020 was

 not obtained within the timeframe necessary to move forward with the transaction. The Company

 and the Restructuring Committee concluded that they could no longer wait to see if the Potential

 Bidder could successfully complete the governance approval process, whether based upon the

 negotiated transaction or some modification of that agreement. The Debtors extended deadlines

 for the Potential Bidder and other bidders and then worked to develop their options.

           54.   Multiple parties continued diligence efforts and provided indications of interest.

 The Debtors received asset purchase agreement mark-ups from 4 bidders in addition to the

 Potential Bidder, and the Debtors continued to receive expressions of interest from still other

 potential bidders who are conducting diligence. The Debtors proceeded to negotiate with each of

 these bidders. While negotiations progressed, the Debtors had not yet finalized the terms of these

 sales by the time that their liquidity position necessitated this filing. The Debtors are assessing all

 of these options, including sales for all or parts of their businesses.

           C.    Cash Collateral

           55.   As part of the agreement negotiated with the Potential Bidder, the Potential Bidder

 was to extend debtor in possession financing to the Debtors. When it became clear that the

 transaction with the Potential Bidder was not likely to be finalized on the Debtors’ requisite

 timeframe and after assessing all other financing alternatives available, the Debtors reached




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 agreement with the Prepetition Secured Creditors to make their cash collateral available to finance

 the Chapter 11 Cases including a substantial part of the Dominion Cash. The Prepetition Secured

 Creditors consented to the Debtors using their operating cash and to advance $23.5 million of

 funds from the Dominion Cash that are otherwise required to be maintained in the blocked

 Dominion Account as cash collateral solely to secure the Prepetition Secured Obligations and to

 which the Debtors do not otherwise have access.

           56.   Under the terms negotiated with the Prepetition Secured Creditors, the Debtors will

 gain access to $23.5 million in additional liquidity to finance the Chapter 11 Cases and continued

 operations. The Prepetition Secured Creditors will receive replacement liens and super-priority

 administrative expense treatment. Additionally, the Priority Term Loan Secured Creditors, who

 currently have a first priority perfected security interest in the $23.5 million (and all other amounts)

 in the Debtors’ Dominion Account, will, with the consent of the FILO Term Loan Secured

 Creditors and Exit Term Loan Creditors, have their existing third priority security interest in the

 PPE Collateral elevated in priority over the security interests of the FILO Term Loan Secured

 Creditors and Exit Term Loan Secured Creditors to the extent of the $23.5 million advance. The

 other terms are described in more detail below and in the Cash Collateral Motion.

           57.   Before agreeing to accept this financing mechanism, the Debtors (with the

 assistance of Ducera) made inquiries into alternatives available for financing and solicited

 proposals for debtor in possession financing from other financial institutions. These included

 lenders under the Prepetition Facilities, other financial institutions who historically provide debtor

 in possession financing, and the Company’s prepetition investors. The Company contacted over

 fifteen potential lenders, including its prepetition lenders. The proposed arrangement with the

 Prepetition Secured Creditors to gain access to the Dominion Cash was the best alternative for the




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 Debtors.

           58.   Under the circumstances, where substantially all (if not all) of the Debtors’ cash

 constitutes cash collateral of the Debtors’ prepetition secured lenders, the Debtors need access to

 such cash collateral to fund the Chapter 11 Cases and support operations. The Debtors are seeking

 interim approval of their use of cash collateral, including $23.5 million of the Dominion Cash, the

 primary terms of which are described below.

           IV.   First Day Pleadings

           59.   Concurrently with its chapter 11 petitions, the Debtors are filing the following First

 Day Pleadings:

                 a. Debtors’ Motion for Entry of Order (I) Directing Joint Administration of
                    Related Chapter 11 Cases and (II) Granting Related Relief (“Joint
                    Administration Motion”);

                 b. Debtors’ Motion for Entry of Order (I) Authorizing the Debtors to File a
                    Consolidated List of the 40 Largest Unsecured Creditors, (II) Waiving the
                    Requirement to File a List of Creditors, and (III) Establishing Procedures for
                    Notifying Creditors of the Commencement of Debtors’ Chapter 11 Cases
                    (“Creditor Matrix Motion”);

                 c. Debtors’ Application for Appointment of Prime Clerk LLC as Claims and
                    Noticing Agent;

                 d. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                    Debtors to (A) Continue Operating Cash Management System and Bank
                    Accounts, (B) Honor Certain Prepetition Obligations Related Thereto, (C)
                    Continue Performing and Granting Administrative Priority for Intercompany
                    Transactions, (II) Waiving Certain Bankruptcy Administrator Requirements,
                    (III) Granting the Debtors an Extension to Comply With the Requirements of
                    Section 345(b) of the Bankruptcy Code, and (IV) Scheduling a Final Hearing
                    (“Cash Management Motion”);

                 e. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                    Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and
                    Employee Benefits, and (B) Continue Existing Employee Benefit Plans and
                    Programs, (II) Authorizing Banks and Financial Institutions to Pay All Checks
                    and Electronic Payment Requests Relating to the Foregoing, and
                    (III) Scheduling a Final Hearing (“Employee Wages Motion”);



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               f. Debtors’ Motion for Entry of an Order (I) Authorizing Debtors to (A) Continue
                  Debtors’ Insurance Programs, (B) Pay Certain Obligations in Respect Thereof
                  Postpetition, and (II) Authorizing Banks and Financial Institutions to Pay All
                  Checks and Electronic Payment Requests Relating to the Foregoing
                  (“Insurance Motion”);

               g. Debtors’ Motion for Entry of Interim and Final Orders (I) Determining
                  Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting
                  Utility Companies from Altering, Refusing, or Discontinuing Services,
                  (III) Establishing Procedures for Determining Adequate Assurance of Payment,
                  and (IV) Scheduling a Final Hearing (“Utilities Motion”);

               h. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing But Not
                  Directing Debtors to Remit and Pay Certain Prepetition Taxes, Governmental
                  Assessments, and Fees, (II) Authorizing Banks and Financial Institutions to Pay
                  All Checks and Electronic Payment Requests Relating to the Foregoing, (III)
                  Scheduling a Final Hearing and (IV) Granting Related Relief (“Taxes
                  Motion”);

               i. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors
                  to (A) Maintain Certain Customer and Consumer Programs and (B) Honor or
                  Pay Certain Prepetition Obligations Related Thereto, and (II) Authorizing
                  Banks and Financial Institutions to Pay All Checks and Electronic Payment
                  Requests Relating to the Foregoing, (III) Scheduling a Final Hearing and (IV)
                  Granting Related Relief (“Customer and Consumer Programs Motion”);

               j. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                  Debtors to Pay (A) Certain Prepetition Claims of Shippers and Warehousemen
                  and (B) Import Charges, (II) Authorizing Financial Institutions to Honor and
                  Process Related Checks and Transfers and (III) Granting Related Relief
                  (“Common Carriers Motion”);

               k.   Debtors’ Motion for Entry of Interim and Final Orders Authorizing the
                    Employment and Compensation of Professionals Utilized in the Ordinary
                    Course of Business (“Ordinary Course Professionals Motion”);

               l. Debtors’ Motion to Authorize the Bankruptcy Administrator to Solicit and
                  Form Consolidated Unsecured Creditors’ Committee (“Consolidated
                  Committee Motion”);

               m. Debtors’ Motion for Entry of an Order Granting the Debtors an Extension of
                  Time Within Which to File Schedules and Related Documents (“Schedule
                  Extension Motion”);

               n. Debtors’ Motion for Entry of An Order Establishing Procedures for Interim
                  Compensation and Reimbursement of Expenses for Professionals (“Interim
                  Compensation Motion”);



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                 o. Debtors’ Motion for Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364
                    and 507 (I) Authorizing Use of Cash Collateral, (II) Granting Liens and
                    Providing Superpriority Administrative Expense Status, (III) Granting
                    Adequate Protection, (IV) Modifying Automatic Stay, (V) Granting Related
                    Relief, and (VI) Scheduling a Final Hearing (“Cash Collateral Motion”); and

                 p. Debtors’ Motion for (I) an Order Establishing Bidding Procedures and Granting
                    Related Relief and (II) an Order Approving the Sale of the Debtors’ Assets
                    (“Bidding Procedures Motion”.

           60.   The Debtors are also seeking to retain professionals on an interim and final basis,

 which applications are supported by separate declarations.

           61.   I am familiar with the contents of each First Day Pleading (including the exhibits

 to such motions) and believe the relief sought in each First Day Pleading will allow for an orderly

 transition of the Debtors into the Chapter 11 Cases and is critical to maintaining operational

 stability and preserving the value of the estates as the Debtors seek to consummate an orderly sale

 process and the confirmation of a Chapter 11 Plan. Further, it is my belief that the relief sought in

 the First Day Pleadings is in each case narrowly tailored and necessary to achieve the goals

 identified above, and, accordingly, best serves the interests of the Debtors’ estates and their

 stakeholders.

           62.   As noted above, the relief sought in the various First Day Pleadings would allow

 the Debtors to, among other things, (i) obtain certain operational relief and establish various

 administrative procedures to promote a seamless transition into bankruptcy and (ii) obtain access

 to cash collateral in order to fund the Debtors’ business operations and the administration of the

 Chapter 11 Cases.

           63.   I have reviewed each of the First Day Pleadings or had their contents explained to

 me, and I believe the Debtors would suffer immediate and irreparable harm absent the ability to

 continue their business operations as sought in the First Day Pleadings. In my opinion, approval

 of the relief sought in the First Day Pleadings will be critical to maintaining the stability of the


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 Debtors business operations, preserving value, and allowing the Debtors to focus their efforts on

 the Sale.

           64.   Several of the First Day Pleadings request authority to pay certain prepetition

 claims. I am told by the Debtors’ advisors that rule 6003 of the Federal Rules of Bankruptcy

 Procedure provides, in relevant part, that the Court shall not consider motions to pay prepetition

 claims during the first 21 days following the filing of a chapter 11 petition, “except to the extent

 relief is necessary to avoid immediate and irreparable harm.” In light of this requirement, the

 Debtors have limited their request for immediate authority to pay prepetition claims to those

 circumstances where the failure to pay such claims would cause immediate and irreparable harm

 to the Debtors and their estates.

           65.   Below is a brief discussion of the Debtors’ operational First Day Pleadings and an

 explanation of why, in my belief, such motions are critical to the successful prosecution of the

 Chapter 11 Cases. More detailed descriptions of the facts regarding the Debtors’ operations, and

 the bases for the relief requested in the operational motions, can be found in each relevant First

 Day Pleading.

           Cash Management Motion

           66.   In the ordinary course of business, the Debtors utilize an integrated and centralized

 cash management system (the “Cash Management System”) to collect, manage, and disburse

 funds used in their operations. The Cash Management System is essential to the efficient execution

 and achievement of the Debtors’ business objectives, and to maximizing the value of their estates.

 As of the Petition Date, the Debtors maintained 17 bank accounts (collectively, the “Bank

 Accounts”) at several banks (each, a “Bank” and, collectively, the “Banks”) in the United States.

 The Debtors primarily operate their Cash Management System through 14 active Bank Accounts




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 maintained at Cadence Bank. Money is transferred between the Bank Accounts, and payments to

 creditors are made from the Bank Accounts, in a variety of manners, including checks, drafts, wire

 transfers, and automated clearinghouse (“ACH”) transfers. Additional detail regarding the Cash

 Management System, including a detailed diagram of the system, is provided in the Cash

 Management Motion.

           67.   Pursuant to the Cash Management Motion, the Debtors request authority to

 continue operating their Cash Management System, to honor and pay associated Bank Fees, to

 continue and pay all obligations under the Debtors’ purchase card system, maintain existing

 business forms, and to continue performing Intercompany Transactions in the ordinary course of

 business. The Debtors also request a 60-day extension to comply with the investment requirements

 of section 345(b) of the Bankruptcy Code. I believe that the relief requested in the Cash

 Management Motion is necessary and appropriate in order to avoid significant interruptions to the

 operation of the Debtors’ businesses. I believe that authorizing the Debtors to, among other things,

 continue operating their Cash Management System, maintain existing business forms, honor and

 pay the Bank Fees, honor and pay obligations with respect to the Company’s Expense Cards, and

 continue Intercompany Transactions is essential to the Debtors’ operational stability and

 restructuring efforts. The Debtors maintain a relatively complex Cash Management System, and

 some of the Debtors’ most critical operations, including payroll, are funded via Intercompany

 Transactions. In my opinion, continued use of the Cash Management System will facilitate the

 Chapter 11 Cases by, among other things, avoiding administrative inefficiencies and expenses

 associated with disrupting this system and minimizing delays in the payment of postpetition

 obligations. Moreover, I believe that allowing the Debtors to continue Intercompany Transactions,

 as well as to continue performing certain other status quo cash management operations, such as




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 maintaining current business forms, will assure that the Debtors’ businesses will be uninterrupted

 by the commencement of this bankruptcy, thereby ensuring the efficient administration of the

 Chapter 11 Cases, and maximizing the value of the Debtors’ estates.

            Employee Wages Motion

            68.      As of the Petition Date, the Debtors employ approximately 2,045 employees,

 consisting of approximately 463 full-time salaried and 1,582 full-time hourly employees.11 Of the

 1,582 full-time hourly employees, 617 are union employees12 and 965 are non-union employees.

            69.      The Employees perform a wide variety of functions critical to the administration of

 the Chapter 11 Cases and the Debtors’ operations generally. In many instances, the Employees

 include personnel who are intimately familiar with the Debtors’ businesses, processes, and

 systems, or who have developed relationships with counterparties that are essential to the Debtors’

 business. To that end, and as discussed in greater detail in the Employee Wages Motion, in the

 ordinary course of business, the Debtors pay and incur a number of obligations related to the

 Employees, including, among other things, wages, salaries and business expense reimbursements.

            70.      Pursuant to the Employee Wages Motion, the Debtors request authority to pay

 prepetition Employee Obligations to their employees and to continue existing Employee Benefit

 Programs for their current Employees in the normal course. I believe the relief requested in the

 Employee Wages Motion is necessary and appropriate in order to avoid any unnecessary

 disruptions to the Debtors’ operations and any resulting deterioration in the value of the Debtors’



 11
      Due to certain business conditions within the past year, including the recent COVID-19 pandemic, the Debtors have
       at times furloughed employees. This information reflects averages based on the Debtors’ entire workforce, which
       includes employees that may currently be furloughed.
 12
      In connection with the unionized work force, Debtor Remington Arms Company, LLC is party to a collective
        bargaining agreement with the International Union, United Mine Workers of America, effective as of December
        16, 2016 (the “CBA”). The CBA is currently set to expire on October 29, 2022.



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 estates. I believe paying prepetition employee wages, benefits, and certain other compensation, as

 well as continuing existing employee benefits for the Debtors’ staff, is necessary to ensure the

 Debtors’ seamless transition into bankruptcy and the operational stability needed as the Debtors

 promptly consummate the Sale and seek confirmation of the Plan. In the absence of paying

 prepetition wages and benefits and continuing existing employee benefits, I believe the Debtors

 would face severe threats to the successful operation of their businesses, including employee

 attrition and turnover, loss of goodwill, and loss of morale, thereby unnecessarily impairing the

 Debtors’ ability to continue operations and reducing the value of the Debtors’ estates. Therefore,

 I believe that such authorization is necessary to keep the Debtors’ existing workforce intact in

 order to maximize the value of the bankruptcy estates for the benefit of all parties in interest in the

 Chapter 11 Cases.

           Insurance Motion

           71.   In the ordinary course of business, the Debtors maintain 14 insurance programs,

 with many of those programs encompassing multiple policies. These programs provide insurance

 coverage for, among other things, the Debtors’ property and machinery, general liability,

 automobile, workers’ compensation, umbrella coverage, and directors and officers (each, an

 “Insurance Program” and, collectively, the “Insurance Programs”). In addition, in the ordinary

 course of business, the Debtors finance, through premium financing agreements (the “PFAs”), the

 payment of their premiums on certain Insurance Programs. The Debtors’ Insurance Programs and

 PFAs, along with a description of the insurance brokers’ fees that the Debtors pay in the normal

 course, are described in further detail in the Insurance Motion.

           72.   Pursuant to the Insurance Motion, the Debtors request authority to maintain and

 continue to honor certain Insurance Policies, and pay Insurance Obligations, whether such




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 obligations relate to the period prior to or after the commencement of the Chapter 11 Cases, in the

 ordinary course of business. I believe that the relief requested in the Insurance Motion is necessary

 and appropriate because continuation of the Debtors’ Insurance Programs and payment of the

 Debtors’ Insurance Obligations are imperative to the Debtors’ continued operation and preserving

 the value of the Debtors’ estates. It is essential for the Debtors to carry insurance in their day-to-

 day operations, or they run the risk of, among other harms, incurring financial responsibility and

 legal liability for potential occurrences not covered by insurance. Moreover, in many cases,

 coverage provided by the Debtors’ Insurance Policies is required by the regulations, laws, and

 contracts that govern the Debtors’ commercial activities. Accordingly, maintaining the Debtors’

 Insurance Programs, and paying their Insurance Obligations, ensures that the value of the Debtors’

 estate is maximized for the benefit of all stakeholders.

           Utilities Motion

           73.    In connection with the operation of their business, certain of the Debtors obtain

 electricity, telephone, water, gas, internet, waste disposal, and other similar services (collectively,

 the “Utility Services”) from a number of utility companies (collectively, the “Utility

 Companies”), as identified in the Utilities Motion. I believe the continued and uninterrupted

 provision of Utility Services during the postpetition period is necessary to allow a smooth

 operation of the Debtors’ business and ensure stability in the production of the Debtors’ various

 products.

           74.    Pursuant to the Utilities Motion, the Debtors request that the Court (i) establish

 procedures for determining adequate assurance of payment, (ii) determine adequate assurance of

 payment for future utility services, and (iii) prohibit Utility Companies from altering, refusing, or

 discontinuing utility services. I believe the relief requested in the Utilities Motion is necessary




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 and appropriate because it will ensure a clear process to address any utility provider that may make

 a demand to the Debtors for adequate assurance or otherwise threaten to alter, refuse, or

 discontinue utility service, thereby minimizing any disruptions to the Debtors’ business operations.

 I am informed and believe that the proposed adequate assurance procedures are consistent with

 procedures that are typically approved in chapter 11 cases in this district.

           Taxes Motion

           75.   In the ordinary course of business, the Debtors incur federal excise taxes, sales and

 use taxes, real estate taxes, personal property taxes, and other taxes, fees, and charges, each as

 more particularly described in the Taxes Motion (collectively, the “Taxes and Fees”). The

 Debtors remit the Taxes and Fees to various federal, state, and local governments and agencies,

 including taxing and licensing authorities (collectively, the “Governmental Authorities”).

           76.   Pursuant to the Taxes Motion, the Debtors request authority (but not the obligation)

 to pay certain prepetition taxes, governmental assessments, and fees as those obligations become

 due in the normal course, taking into account the Debtors’ budget, cash collateral arrangements

 and other limitations on payment. I believe that the relief requested in the Taxes Motion is

 necessary and appropriate because the Debtors’ failure to pay prepetition Taxes and Fees could

 materially and adversely impact their business operations and impair the value of the Debtors’

 estates. Specifically, if the Debtors were to delay paying prepetition Taxes and Fees, there is a

 risk that Governmental Authorities would assess penalty fees on the past due amounts, thereby

 increasing the size of the Debtors’ financial liability, or that Governmental Authorities would

 pursue claims against the Debtors’ officers and directors, thereby distracting them from the

 operation of their businesses, the administration of the Chapter 11 Cases, and the Debtors’ pursuit

 of confirmation of the Plan. Therefore, I believe that the ability to pay prepetition Taxes and Fees,




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 taking into account the Debtors’ budget, cash collateral arrangements and other limitations on

 payment, will greatly assist the Debtors in maximizing the value of their estates for the benefit of

 all stakeholders. Payment of the tax obligations may be subject to certain restrictions, including

 limitations imposed as a result of the Cash Collateral arrangements and applicable bankruptcy law.

           Customer and Consumer Programs Motion

           77.   In order to develop and sustain positive reputations in the marketplace for their

 products and maximize the loyalty of, and goodwill with, their customers, the Debtors historically

 have engaged in certain practices and programs designed to provide certain incentives and services

 to the Debtors’ various customers as well as the consumer end users of the Debtors’ products

 (collectively, the “Customer and Consumer Programs”).              The Customer and Consumer

 Programs principally consist of five categories of programs or services: customer rebates; show

 special promotions; consumer rebates; recalls and settlements; and a consumer warranty program.

 The specific Customer and Consumer Programs are described in greater detail in the Customer

 and Consumer Programs Motion.

           78.   Pursuant to the Customer and Consumer Programs Motion, the Debtors request

 authority to continue the Customer and Consumer Programs and to honor and pay certain

 prepetition obligations related to the Customer and Consumer Programs. I believe that the relief

 requested in the Customer and Consumer Programs Motion is necessary and appropriate to

 preserve the value of the Debtors’ estates. I believe the ability to continue the Customer and

 Consumer Programs and honor and pay the related expenses in the ordinary course is critical to

 ensuring the continued operation of the Debtors’ business. The Debtors operate in a highly

 competitive sector. Much of the success and viability of the Debtors’ business is dependent upon

 the loyalty and confidence of their customers and the end users of the Debtors’ products. Any




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 failure to maintain the Customer and Consumer Programs or pay the Customer and Consumer

 Obligations could result in the Debtors losing the support of their loyal customers and consumers

 and could tarnish the Debtors’ reputation in the marketplace. I believe that if the Debtors failed to

 honor the Customer and Consumer Programs or pay the related obligations in the ordinary course

 and without interruption, they would almost certainly suffer an irreparable loss of customer support

 and confidence and sales would dwindle, to the ultimate detriment of the Debtors’ estates and all

 stakeholders.

           Common Carriers Motion

           79.    In the ordinary course of operating the firearm manufacturing business, the

 Debtors depend on the uninterrupted flow of inventory and other goods through a supply chain

 and distribution network, including the purchase, importation, warehousing, and shipment of the

 Debtors’ inventory, merchandise, and other materials related to their ongoing operations

 (collectively, the “Merchandise”). Generally, the Debtors source Merchandise from third-party

 manufacturers (the “Vendors”). Certain of the Debtors’ Merchandise is sourced from Vendors

 located outside the United States. I believe that the Debtors’ ability to operate in the ordinary

 course of business therefore includes the need to transport, import, and take delivery of

 Merchandise in a timely fashion and on a worldwide basis.

           80.   The Debtors rely on a network of common carriers, expeditors, consolidators,

 warehousemen and transportation service providers, and other related parties (collectively, the

 “Shippers and Warehousemen”) in the process of operating the businesses. Services provided

 by the Debtors’ Shippers and Warehousemen include transportation of Merchandise from Vendors

 to the Debtors’ manufacturing plants and other operations, along with the coordination and

 processing of various import duties and related charges at ports or transportation centers in the




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 United States, transportation and storage of Merchandise to and between the Debtors’

 manufacturing and warehousing operations (collectively, the “Warehouses”), and transportation

 from the Warehouses to other locations to effect distribution and sale of the Debtors’ goods. I

 believe that a disruption in the chain of transportation and storage arrangements due to nonpayment

 of shipping and warehouse charges could cause substantial delays, great expense and irreparable

 harm to the Debtors’ estates.

           81.   Timely receipt of Merchandise, including from foreign countries, is critical to the

 Debtors’ business operations, and the Debtors may be required to pay certain import charges (the

 “Import Charges”), including, but not limited to, customs duties, detention and demurrage fees,

 tariffs, excise taxes, and other similar obligations. I believe that payment of Import Charges is

 critical to ensure the uninterrupted flow of Merchandise, and that a disruption in the supply chain

 due to nonpayment of Import Charges could cause substantial delays, great expense and irreparable

 harm to the Debtors’ estates. I believe that the relief sought in the Common Carriers Motion is

 necessary and appropriate to preserve the value of the Debtors’ estates.

           Ordinary Course Professionals Motion

           82.   The Debtors, in the day-to-day operation of their businesses, regularly call upon

 certain professionals, including attorneys, accountants and other professionals (collectively, the

 “OCPs”), to assist them in carrying out their responsibilities. The OCPs provide services to the

 Debtors in a variety of matters unrelated to the Chapter 11 Cases, including regulatory, consulting

 and financial services, and legal services with regard to specialized areas of law.

           83.    I believe that the continued employment and compensation of the OCPs is in the

 best interests of the Debtors’ estates, creditors and other parties in interest. It is critical that the

 Debtors be able to engage the OCPs in an effort to defend potential claims against their estates and




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 preserve the value for stakeholders. Without the background knowledge, expertise, and familiarity

 that the OCPs have regarding the Debtors and their operations, the Debtors would undoubtedly

 incur additional and unnecessary expenses in educating and retaining replacement professionals.

 Accordingly, I believe that the Debtors’ estates and their creditors are best served by avoiding any

 disruption in the professional services that are required for the day-to-day management of the

 Debtors’ businesses.

           84.   I am informed and believe that, in light of the significant costs associated with the

 preparation of employment applications for professionals who will receive relatively modest fees,

 it would be impractical, inefficient and costly for the Debtors and their advisors to prepare and

 submit individual applications and proposed retention orders for each OCP.

           85.   I am informed and believe that certain OCPs may hold minor amounts of unsecured

 claims against the Debtors in respect of prepetition services rendered, but none of the OCPs have

 an interest materially adverse to the Debtors, their creditors, or any other parties in interest. I

 believe that the relief sought in the OCP Motion is necessary and appropriate to preserve the value

 of the Debtors’ estates.

           Joint Administration Motion

           86.    The Debtors are seeking joint administration of the Chapter 11 Cases. I am

 informed and believe that, given the integrated nature of the Debtors’ operations and the Debtors’

 joint proposal of the Plan, joint administration of the Chapter 11 Cases will provide significant

 administrative convenience without harming the substantive rights of any party in interest. Each

 Debtor is an “affiliate” of Remington Outdoor Company, Inc. as I have been advised such term is

 defined in section 101(2) of the Bankruptcy Code. The Debtors only seek administrative, not

 substantive, consolidation of their estates for procedural purposes. Intercompany claims among




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 the Debtors also will be preserved, and each of the Debtors will maintain separate records of assets

 and liabilities,

            87.     I am informed and believe that permitting the Debtors to file their schedules and

 statements on a consolidated basis will avoid unnecessary costs and delay in light of the Debtors’

 integrated operations, and that this relief will not prejudice parties in interest because the required

 information will still be made available in a single location. I believe that the relief sought in the

 Joint Administration Motion is necessary and appropriate to preserve the value of the Debtors’

 estates.

            Consolidated Committee Motion

            88.      I am informed and believe that authorizing the Bankruptcy Administrator to solicit

 and form a Consolidated Committee, in lieu of soliciting and forming separate unsecured creditors’

 committees in each of the Debtors’ thirteen (13) Chapter 11 Cases, is necessary and appropriate to

 preserve the value of the Debtors’ estates. The Debtors are affiliates with integrated operations,

 many of the same creditors, and a consolidated and centralized cash management system that is

 described in the Cash Management Motion.

            89.     Allowing the Bankruptcy Administrator to solicit and form a single Consolidated

 Committee will save resources and permit the efficient administration of the Chapter 11 Cases. I

 am informed and believe that without the relief sought in the Consolidated Committee Motion, the

 Bankruptcy Administrator may otherwise need to solicit separate committees for each of the

 estates. I believe that requiring the formation of thirteen separate creditors’ committees would

 significantly increase the costs of administering the bankruptcy estates without a concomitant

 benefit and could divert the Debtors’ management from the critical tasks involved in maximizing

 the value of the Debtors’ assets for the benefit of stakeholders. I am informed and believe that the




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 Bankruptcy Administrator’s formation of a single creditors’ committee will adequately represent

 the interests of unsecured creditors in the Chapter 11 Cases.

           Schedule Extension Motion

           90.   The Debtors are in the process of compiling and organizing the information

 required for the Schedules and Statements, but the finalization of these documents will extend past

 the Fourteen-Day Period. The Debtors have been primarily focused on assessing business

 operations and negotiating a course of action.

           91.   I believe that because of the (a) size and scope of the Debtors’ business; (b)

 complexity of the financial affairs; and (c) press of numerous business matters incident to the

 commencement of the Chapter 11 Cases, it was impracticable for the Debtors to assemble all of

 the information necessary to complete the Schedules and Statements prior to the Petition Date.

 The Debtors have many known and potential creditors, and I believe that having to file the

 Schedules and Statements within fourteen days after the Petition Date would not provide the

 Debtors with sufficient time to complete the Schedules and Statements.

           92.   I am informed and believe that an extension of thirty (30) days (without prejudice

 to the Debtors’ right to seek one or more further extensions of this deadline) to file the Schedules

 and Statements is appropriate, and that the relief requested in the Schedule Extension Motion is

 necessary and appropriate to preserve the value of the Debtors’ estates.

           Interim Compensation Motion

           93.   I am informed and believe that, concurrently herewith, the Debtors are filing

 applications to retain and employ certain professionals in the Chapter 11 Cases, including legal

 counsel, investment bankers, financial advisors, and a claims, noticing, and solicitation agent. The

 Debtors may also need to retain additional professionals in connection with the Chapter 11 Cases.




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 I am also informed and believe that an official committee of unsecured creditors may be appointed

 in the Chapter 11 Cases and may wish to retain professionals.

           94.      I believe that establishing orderly procedures for the payment of fees and expenses

 for professionals whose retentions are approved by this Court will streamline the administration

 of the Chapter 11 Cases and otherwise promote efficiency, and that a streamlined process for

 serving fee applications is in the best interest of the Debtors because it will facilitate efficient

 review of such professionals’ fees and expenses while saving the Debtors unnecessary copying

 and mailing expenses. Accordingly, I believe that the relief requested in the Interim Compensation

 Motion is necessary and appropriate to preserve the value of the Debtors’ estates.

               Cash Collateral Motion

           95.      In the Cash Collateral Motion, the Debtors seek entry of an interim order (the

 “Interim Cash Collateral Order”) and a final order (the “Final Cash Collateral Order,” and

 together with the Interim Order, the “Cash Collateral Orders”) approving the Debtors’ use of the

 cash collateral of the Prepetition Secured Creditors (the “Cash Collateral”).

           96.      The Debtors, with the assistance of Ducera and their other advisors and under the

 oversight of the Restructuring Committee, evaluated multiple options to finance their operation

 and case budget. This included negotiations with prospective stalking horse bidders, existing

 creditors and multiple third party lenders. No third party lender was identified that would provide

 financing on a basis superior to the negotiated terms for the use of Cash Collateral. Given the

 complex capital structure, three different tranches of liens would all have to agree to be

 subordinated to the extent a new lender required a first priority lien (or the Debtors would have to

 be able to prime such liens). The Debtors concluded that any effort to prime the existing liens

 would be extremely challenging and subject to significant risks and costs.




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           97.    However, the substantial cash reserves associated with the Prepetition Facilities

 created an opportunity to obtain additional credit beyond the incremental cash collateral generated

 by the Debtors’ businesses. For the Debtors to obtain such access, the requisite lenders under the

 Prepetition Facilities would have to adjust their borrowing base formulas and minimum cash

 requirements to in effect relend those amounts back to the Debtors to fund the Chapter 11 Cases

 and continued operations. This is the proposed structure of the financing provided under the Cash

 Collateral Orders. This financing provides an additional $23.5 million in liquidity that is not

 available under the Prepetition Facilities given the prior contractual borrowing base formulas.

           98.    The Prepetition Secured Creditors have consented to the use of their Cash

 Collateral, and the FILO Lenders and the Exit Term Loan Lenders have consented to the priming

 of the FILO Term Loan Liens and the Exit Term Loan Liens, by the Priority Term Loan Liens in

 the amount of the additional liquidity provided. In consideration of for those consents and in

 respect of the diminution in value of their interests in the prepetition collateral, the Debtors have

 agreed to provide the Prepetition Secured Parties with adequate protection on the terms described

 in the Cash Collateral Motion.

           99.    The terms of the use of the Cash Collateral were extensively negotiated. The

 Debtors believe this represents the best available source of financing to the Debtors.

           100.   The Debtors have an immediate need to use Cash Collateral to permit them to

 consummate the Sale and proceed toward confirmation of the Plan, in addition to, among other

 purposes, (a) operate the businesses in the ordinary course, (b) maintain business relationships

 with vendors, suppliers and customers, (c) pay employee wages in the ordinary course, (d) make

 necessary capital expenditures, and (e) satisfy other working capital and operational needs, all of

 which are necessary to preserve and maximize the going-concern value of the Debtors.




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           101.   Without the use of Cash Collateral and access to the additional liquidity, the

 Debtors will not be able to meet their day-to-day operational needs. In such a scenario, the Debtors

 would have to consider halting their operations, potentially drastically impairing the overall value

 of their business. Further, having access to the Cash Collateral is critical for the Debtors to

 demonstrate to their customers and vendors that they have sufficient working capital to operate

 their businesses in the ordinary course. Absent this, customers may stop making purchases from

 the Debtors and vendors will cease providing trade terms and/or shipping goods to the Debtors.

 As a result, immediate and irreparable harm could be suffered by the Debtors’ estates if the Debtors

 are unable to obtain access to the Cash Collateral. The additional liquidity allows the Debtors to

 pay the incremental operating expenses they will incur from operations and case expenses.

 Therefore, the Debtors’ request for approval of the Cash Collateral Motion on an expedited basis

 is critical.

           102.   In conjunction with their financial advisor, M-III Advisory Partners, LP, the

 Debtors considered whether they could operate using only the cash generated from their post-

 petition operations (without access to the Cash Collateral provided by the relaxation of the

 borrowing base and lending restrictions). The Debtors determined that they could do so only for

 a limited period of time and then only if they refrained from making purchases and payments that

 are critical to the success of the Chapter 11 Cases. In addition, as discussed above, the Debtors’

 prepetition secured creditors are unlikely to consent. Finally, it is unclear whether the Debtors

 would prevail in the face of objections by secured creditors to their use of cash collateral (whether

 from operations or from the reserve cash) given the three separate tranches of secured debt with

 liens in assets that generate cash .

           103.   The Debtors’ ability to finance their operations, maintain business relationships,




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 pay their employees, protect the value of their assets, and otherwise finance their operations and

 pursue a strategy to maximize value for their creditors requires the availability of working capital

 from the use of Cash Collateral. The absence of such working capital would immediately and

 irreparably harm the Debtors, their estates, their creditors and equity holders, and materially impair

 the possibility for a successful administration of the Chapter 11 Cases. Also important is the

 consideration that any buyer looking to acquire the Debtors’ assets as a going concern will want

 to make sure that the Debtors’ operations remain stable. A failure of the Debtors’ suppliers to

 provide goods and employees to provide services to the Debtors at this time could have a deeply

 negative effect on the Debtors’ ability to seek bids for the business as a going concern.

            104.   The liquidity provided by the Cash Collateral Orders will support the Debtors’

 ability to pay their trade creditors in the ordinary course during the pendency of the Chapter 11

 Cases and facilitate the orderly sale of the Debtors’ assets and the ultimate wind-down of their

 estates.

            105.   Accordingly, I believe that entry into the Cash Collateral arrangements is in the

 best interests of the Debtors’ estates and the various stakeholders.

            Bidding Procedures Motion

            106.   In the Bidding Procedures Motion, the Debtors seek entry of an order (the “Bidding

 Procedures Order”) approving the proposed bidding procedures attached thereto as Exhibit B

 (the “Bidding Procedures”), by which the Debtors will solicit and select the highest or otherwise

 best offer for the sale of substantially all or a portion of their assets; establishing procedures for

 the assumption and assignment of executory contracts and unexpired leases, including notice of

 proposed cure amounts, approving the form and manner of notice with respect to certain

 procedures, protections, schedules, and agreements described therein and attached hereto;




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 authorizing the Debtors to select one or more stalking horse bidders for its assets (which may

 include a stalking horse bidder for its ammunition business, a stalking horse bidder for its firearms

 business or a stalking horse bidder for the Debtors’ entire business, among other asset

 combinations) and to provide Bid Protections (as defined below) to any stalking horse bidder;

 scheduling an auction (the “Auction”) if the Debtors receive two or more timely and acceptable

 Qualified Bids (as defined in the Bidding Procedures), and a final hearing (the “Sale Hearing”) to

 approve one or more sales of the Debtors’ assets; and granting related relief.

           107.   The Debtors, in consultation with their advisors, believe that pursuing a sale

 transaction at this time is the course of action most likely to maximize value and encourage robust

 bidder participation. The Debtors are close to finalizing the terms of a sale with multiple potential

 stalking horse bidders whose bids will importantly serve as a floor for the sale process. The

 Bidding Procedures facilitate a streamlined marketing and sale process that take into consideration

 the robust marketing process engaged in prior to the Petition Date that is described above, provide

 flexibility for the sale of all or a portion of their assets, and deliver market feedback regarding the

 value of the potential stalking horse bids. I believe this approach represents a sound exercise of

 the Debtors’ business judgment, is consistent with their fiduciary obligation to maximize the

 recoverable value of their estates, including by preserving the right to entertain a value-maximizing

 alternative should one arise, and is in the best interest of the Debtors’ estates and stakeholders. I

 believe the Prepetition Secured Creditors support of this sale process, and the agreement of the

 FILO Lenders and the Exit Term Loan Lenders to subordinate to the Priority Term Loan has helped

 to facilitate this process.

           108.   Moreover, the schedule proposed by the Debtors is premised on the operational

 needs of their businesses. The Cash Collateral arrangements are designed to support the Debtors’




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 operations and fund the expenses of the Chapter 11 Cases incurred over the proposed timeline.

 The use of Cash Collateral is not sized to provide for the long term needs of the business or to fund

 a longer reorganization process.13

           109.    The Debtors have determined that seeking the relief requested in the Bidding

 Procedures Motion and commencing a sale process with the option of designating one or more

 stalking horse bidders is warranted and necessary. The transaction set forth in any stalking horse

 asset purchase agreement would establish a minimum Qualified Bid with respect to the assets to

 which it pertains at, and subject to higher or otherwise better offers during, the Auction. The

 proposed stalking horse asset purchase agreements that the Debtors are in the process of

 negotiating are being negotiated at arm’s-length by sophisticated parties, each represented by their

 own advisors.

           110.    To facilitate a competitive, value-maximizing Sale Transaction, the Debtors are

 requesting authority to offer a potential stalking horse bidder: (i) a break-up fee in the amount of

 3.5% of the cash purchase price component of its bid (the “Break-Up Fee”); (ii) reimbursement

 of such stalking horse bidder’s and its attorneys’, accountants’, investment bankers’, and

 representatives’ documented fees and expenses actually and reasonably incurred in negotiating

 and documenting the stalking horse asset purchase agreement up to a maximum aggregate amount

 of 1.0% of the cash purchase price component of its bid (the “Expense Reimbursement”); and/or

 (iii) minimum overbid protection (together with the Break-Up Fee and the Expense

 Reimbursement, the “Bid Protections”).

           111.    The Debtors believe that the Bid Protections are a necessary inducement to any



 13
   Importantly, while the Cash Collateral Order does not require entry of the Sale Order until November 4, the liquidity
 provided will only support the proposed sale process.



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 stalking horse bidder contractually committing to serve as a bidder at a price the Debtors believe

 is fair, while providing the Debtors with an opportunity to enhance the value to their estate through

 an auction process. Without the Bid Protections, I believe that a stalking horse bidder may not be

 willing to enter into a stalking horse asset purchase agreement. The Bid Protections have been and

 will be negotiated in good faith. The Debtors do not intend to terminate any stalking horse asset

 purchase agreement and pay the Bid Protections, unless doing so would permit the Debtors to

 accept a better bid.

           112.   I understand that a consumer privacy ombudsman may be required to be appointed

 where a debtor is proposing to sell personally identifiable information as part of a sale outside of

 the ordinary course of business and the debtor disclosed to an individual a policy prohibiting the

 transfer of personally identifiable information about individuals to persons that are not affiliated

 with the debtor and such policy is in effect on the date of the commencement of the case. That is

 not the case here. The Debtors do collect personally identifiable information, which may be

 transferred in connection with the Sale. However, the Debtors’ privacy policy in effect for years

 prior to and on the Petition Date, a true and correct screenshot of which is attached hereto as

 Exhibit D, permits the transfer of such information. The privacy policy provides that the Debtors

 “reserve the right to transfer any information, including Personal Information, in the event all, or

 a portion, of our business or assets are sold or transferred, including in connection with a sale,

 merger, consolidation, change in control, transfer of assets, reorganization or liquidation of our

 business.”

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.




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                                          /s/ Ken D’Arcy
                                          Ken D’Arcy
                                          Chief Executive Officer
                                          Remington Outdoor Company, Inc.




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                                         Remington Outdoor Company, Inc.                                   Remington
                                                        XX-XXXXXXX                                      Charitable Fund
                                                               100%
                                                                                                            (private
                                                                                                          foundation)
                                                 FGI Holding Company, LLC                                 XX-XXXXXXX
                                                        XX-XXXXXXX
                                                                100%

                                                FGI Operating Company, LLC
                                                        XX-XXXXXXX



                                                       100%
                                                                                                                          100%
               100%                                                                            100%
                                     Remington Arms Company, LLC
                                                                                          RA Brands,
       Barnes                                XX-XXXXXXX                                     L.L.C.
                                                                                                                   Outdoor
     Bullets, LLC                                                                                                Services, LLC
                                                                                          XX-XXXXXXX              XX-XXXXXXX
      XX-XXXXXXX
                                                                                   100%
                              100%                              100%                            50%
                                                                                                                100%
                                      100%
                                                                                          Remington
                   100%                                                                    Licensing
                                                                                          Corporation         FGI Finance,
                                                                                          XX-XXXXXXX              Inc.
                                                                                                              XX-XXXXXXX
 Huntsville               TMRI,         Remington
                                                                    32E
Holdings LLC               Inc.            Arms
XX-XXXXXXX                  81-                                 Productions   Great Outdoors
                                        Distribution
                          0493522                                  , LLC        Holdco, LLC
                                       Company, LLC
                                                                 XX-XXXXXXX    XX-XXXXXXX
                                        XX-XXXXXXX




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                     Priority Term Loan Facility                  FILO Term Loan Facility                        Exit Term Loan Facility
Outstanding
Principal      $75,500,000                                  $55,000,000                                   $110,707,574.49
Amount
                                                                 Remington Outdoor Company, Inc.
  Borrower

  Guarantors                                                         FGI Holding Company, LLC


                                                                   FGI Operating Company, LLC




                   Barnes                                                                                                          Outdoor Services,
                 Bullets, LLC                Remington Arms Company, LLC                                                                LLC
                                                                                      RA Brands, L.L.C.



                                                                                                                FGI Finance Inc.
                  Huntsville        TMRI,         Remington          32E
                 Holdings LLC        Inc.           Arms         Productions,
                                                 Distribution       LLC         Great Outdoors
                                                Company, LLC                     Holdco, LLC




                                       Huntsville Note                                                    Intercompany Note
Outstanding
Principal      $12,500,000                                                      $100,000,000
Amount
Issuer
               Remington Outdoor Company, Inc.                                  Remington Arms Company, LLC
Holder
               City of Huntsville, Alabama                                      FGI Holding Company, LLC




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   Effective Date: February 1, 2017


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   We use Personal Information you provide for various purposes, including to provide products and
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   What We Share With Others
   We may use or disclose your Personal Information and other information we collect to affiliates and
   subsidiaries, to third-party partners in certain joint promotional and marketing programs, to
   manage databases of customer information, to assist us in distributing emails, to manage the Site,
   to administer and fulfill sweepstakes and contests, in connection with surveys, or to take
   precautions against liability. If you request products or services via a mobile device, your request
   will be transmitted to your mobile carrier’s network and your carrier may have access to it. Consult
   your carrier’s privacy policy for additional information.

   We may disclose information to outside companies that help us bring you the products and
   services we offer, and in connection with any services or products you purchase from us, to your
   credit card issuer, credit reporting and fraud checking agencies. We may employ other companies
   and individuals to perform functions on our behalf. Examples include providing web site services,
   fulfilling orders, delivering packages, sending postal mail and e-mail, processing credit card
   payments, and providing customer service. They have access to Personal Information needed to
   perform their functions.

   We reserve the right to transfer any information, including Personal Information, in the event all, or
   a portion, of our business or assets are sold or transferred, including in connection with a sale,
   merger, consolidation, change in control, transfer of assets, reorganization or liquidation of our
   business.

   We reserve the right to disclose any Personal Information requested by law enforcement or if we
   are required to do so by law, regulation, subpoena, court order, or by a government entity. We
   reserve the right to disclose any Personal Information to enforce or apply our Terms of Use and
   other agreements and to protect our rights, property, or safety and those of our users, and others.

   Do Not Track Requests; Third Party Tracking
   Unless your browser settings are configured to make your online activities and publicly available
   information about your online activities invisible to usage analytics tools, we do not presently have
   the capability to omit you from Site usage information we collect to the extent your browser only
   sends us a “do not track” message and does not otherwise screen you from tracking without any
   action on our part.

   Third parties, other than our vendors (such as our cookie server), do not have authorization from us
   to track which websites you visited prior and after visiting our website. That said, we cannot control
   third party tracking and there may be some third party tracking that occurs without our knowledge
   or consent.

   Third-Party Sites
   This Site may link you to other sites on the Internet, which are not operated by us and not under
   our control, including sites operated by third parties that have merely licensed the right to use one




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   of our brands, which sites we do not operate or control. You acknowledge that we are not
   responsible for the accuracy, or any other aspect of the content of sites we do not operate or
   control. Your accessing the links to any other sites is at your own risk and subject to the applicable
   privacy policies and terms and conditions of such websites.

   Updating Personal Information; Opt-Out
   You can help us maintain the accuracy of your information by notifying us of any changes. If your
   Personal Information changes (such as physical or email address), contact us by email to
   webmaster@remington.com (mailto:webmaster@remington.com) to update or correct such
   information.


   If you no longer wish to receive our promotional communications, each message will give you the
   option to “unsubscribe” from receiving further email communications from us at any time. Your
   option not to receive promotional and marketing material will not preclude us from corresponding
   with you, by email or otherwise, regarding your existing or past business relationships with us (e.g.,
   any purchase of our products or use of our services, or responses to requests for information you
   pose to us either through use of a Site or by other means), and will not preclude us from accessing
   and viewing your personal information in the course of maintaining and improving our Sites,
   products and services.

   If you sign up to receive mobile messaging (e.g., SMS and MMS) offers and communications but
   later decide you no longer wish to receive them, simply follow the opt-out instructions included in
   the mobile message.

   Children’s Privacy
   The Sites are not intended for minors. We do not knowingly solicit or collect Personal Information
   from children under 13. If you are under the age of 13, please do not submit your e-mail address or
   any other Personal Information to us through the Sites. If we learn that we have collected Personal
   Information of a child under 13 we will take steps to delete the information as soon as possible.

   We encourage parents to go online with their children. Parents should understand the sites their
   children are visiting and which sites are appropriate. There are parental control tools available such
   as browsers and filtering software that prevent children from accessing inappropriate sites.

   Your California Privacy Rights
   Pursuant to Section 1798.83 of the California Civil Code, residents of California have the right to
   request from a business, with whom the California resident has an established business
   relationship, certain information with respect to the types of Personal Information the business
   shares with third parties for direct marketing purposes by such third party and the identities of the
   third parties with whom the business has shared such information in the immediately preceding
   calendar year. To access this information, write to Remington Arms Company, LLC, PO Box 700,
   Madison, NC 27025, Attention: CA Privacy Requests or email webmaster@remington.com



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   (mailto:webmaster@remington.com) with “CA Privacy Requests” in the subject line. Please note
   that, under the law, we are not required to respond to your request more than once in a calendar
   year, nor are we required to respond to any requests that are not sent to the above-designated
   email or mailing address.

   Consent to Transfer Information to the United States
   The Sites are intended for users residing in the United States and are governed by and operated in
   accordance with the laws of the United States. We make no representation that the Sites are
   operated in accordance with the laws or regulations of, or governed by, any other nation. If you
   are located outside of the United States, please be advised that any information (including
   Personal Information) you provide to us will be transferred to the United States and that by
   submitting information to the Sites, you explicitly consent to its transfer to the United States.

   We do not intend to conduct business via the Sites with users located in the European Economic
   Area and Switzerland (the “European Area”), and do not knowingly solicit or accept Personal
   Information transferred from the European Area for any purposes. If you are located in the
   European Area, do not submit any Personal Information to the Sites. We expressly disclaim any
   liability in connection with any such transfer of Personal Information from the European Area.

   Public Forums
   If you post self-identifying information or other content on or through public areas on our Site, e.g.,
   chats, blog comments, this information is public information and is generally accessible to, and
   may be collected and used by, others and may result in unsolicited messages or other contact from
   others. You are encouraged to exercise caution when posting online self-identifying information.
   You warrant that you have permission to upload any third-party information and you agree to
   indemnify, defend and hold us and our agents harmless from and against any claim, liability, cost
   and expense arising in connection with your provision of that information.

   Changes to Privacy Policy
   We may occasionally update this policy by posting an updated version of this Privacy Policy on our
   Site. All revisions will become effective on the date that the modified policy is posted on our Site.

   Contact Us
   We welcome questions or comments on this Privacy Policy. Please contact us by writing to
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     (https://www.remington.com/s
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     HANDGUNS                                                       (https://www.remington.com/s
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     shop/classic-series-rifles)    Catalog (https://remington-     News
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     shop/40-x-series-rifles)       (https://www.remington.com/re
     Rimfire Rifles                 promotions)
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     shop/rimfire-rifles)           (https://www.remington.com/s
     Handguns                       center)
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